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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

PRINCESS SAKYI                                :
Individually, on Behalf of All Others         :
Similarly Situated, and on Behalf of the      :
General Public of the District of             :       Case No.: 1:17-cv-01863-BAH
Columbia                                      :
2 M St NE,                                    :       AMENDED CLASS ACTION
Washington D.C. 20002                         :       COMPLAINT
                                              :
                                              :       JURY TRIAL DEMANDED
               Plaintiff,                     :
                                              :
v.                                            :
                                              :
AVEDA CORPORATION,                            :
251 Little Falls Dr., Wilmington, DE,         :
19808                                         :
                                              :
BEAUTY BASICS, INC. d/b/a AVEDA               :
INSTITUTES SOUTH,                             :
113 S. Pine St.,                              :
Hammond, La. 70403                            :
                                              :
THE ESTEE LAUDER COMPANIES                    :
INC.,767 Fifth Avenue,                        :
New York, NY 10154                            :
                                              :
               Defendants.                    :

 AMENDED PRIVATE ATTORNEY GENERAL AND CLASS ACTION COMPLAINT

       COMES NOW Plaintiff Princess Sakyi, on behalf of herself, all others similarly situated,

and the general public of the District of Columbia (“Plaintiff”), by and through undersigned

counsel, brings this consumer protection and wage theft Complaint against Aveda Corporation

(“Aveda”), Beauty Basics, Inc. d/b/a Aveda Institutes South (“Beauty Basics”) and the Estee

Lauder Companies, Inc. (“Estee Lauder”) (collectively, “Defendants”).          In support of this

Complaint, Plaintiff states the following facts and claims upon knowledge as to matters relating to

herself and upon information and belief as to all other matters, as follows:



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                      INTRODUCTION AND SUMMARY OF ACTION

       1. This is a private attorney general action and class action on behalf of individuals who

enrolled in the Aveda Institute in Washington D.C. as cosmetology students. The Aveda Institute

holds itself out as an education institution for students to “learn their craft in Cosmetology.” Aveda

told prospective students that, if they enrolled in its program, they would be directly supervised by

skilled professionals and “train” directly with guests, “receiv[ing] the trademark difference that

defines an Aveda school.” In reality, students spent many days not training, but as line employees,

working upwards of 12 hours and performing simple, repetitive tasks on Aveda clients without

supervision – such as straightforward nail or hair jobs. This work primarily benefitted Defendants,

who charged the clients for the work performed and charged the students tuition higher than peer

institutions, but did not pay students for the work they did, which was not in the nature of training.

       2. Plaintiff brings this action pursuant to Rule 23 of the Federal Rules of Civil Procedure

and D.C. Code § 32-1308 on behalf of herself and a class of similarly situated cosmetology

students who have attended the Aveda Institute in Washington D.C.

       3. Plaintiff, on behalf of herself and the class, alleges that Defendants have violated

provisions of the Washington D.C. Consumer Protection Procedures Act (“CPPA”) by marketing

that its cosmetology school was superior to its peer institutions because of the “training” it

provided on guests, which, in reality, amounted to hundreds of hours of unsupervised, free labor

for Defendants.

       4. Plaintiff, on behalf of herself and the class, alleges that Defendants have violated

provisions of the Washington D.C. Minimum Wage Revision Act (“DCMWRA”) and the Wage

Payment Collection Law (“DCWPL”), D.C. Code § 32–1302 et seq, by: (1) failing to pay a

minimum wage, and (2) failing to pay all wages earned to student employees in a timely manner.




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                                  JURISDICTION AND VENUE

        5.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1)

because the matter in controversy exceeds $75,000, exclusive of interest and costs and because the

parties are residents of different states.

        6.      This Court has jurisdiction because Defendants maintain sufficient minimum

contacts in Washington D.C. and the claims in this action arise from those contacts. See D.C. Code

§§ 13-423(a) and 13-422.

        7.      Venue lies in the Superior Court of the District of Columbia because a substantial

part of the events or omissions giving rise to this claim occurred in the District of Columbia.

                                                PARTIES

        8. Plaintiff Princess Sakyi is an adult resident of Washington, D.C., a consumer of

services offered by Defendants in the District of Columbia, and a former student employee of

Defendants.

        9. During all relevant times, Plaintiff Sakyi was employed by Defendants, including from

approximately April 2016 to May 2017, as an unpaid cosmetology student employee at

Defendants’ Aveda Institute located in Washington D.C.

        10. Defendant Aveda Corporation is a corporation organized under the laws of the State

of Delaware with its principal office at 4000 Pheasant Ridge Drive, Blaine, MN 55449.

        11. Defendant Beauty Basics, Inc. d/b/a Aveda Institutes South is a corporation organized

under the laws of Louisiana with its principal office at 303 S. Pine Street, Hammond, La. 70403.

        12. Defendant Estee Lauder, Inc. is a corporation organized under the laws of the State of

Delaware with its principal office at 7 Corporate Center Drive, Melville, NY 11747.

                                     STATEMENT OF FACTS




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         13. Defendants Aveda and Beauty Basics run cosmetology programs in several cities,

including Washington D.C., in which student enrollees provide cosmetology services for paying

customers.

         14. Defendant Estee Lauder is a parent company of Aveda Corporation and shares in the

profits generated by the Aveda Institute.

         15. Prospective students were told that in the Washington D.C. Aveda Institute “supervised

students train directly with guests, delivering the trademark difference that defines an AVEDA

school.” See, e.g., https://avedainstitutessouth.edu/locations/washington-d-c/ (last visited June 26,

2017).

         16. Prospective students were told that the one-of-a-kind “hands-on experience” that

they would receive in training at the Aveda Institute would be “by licensed educators within a

salon environment” in which “[s]tudents will learn the latest styles and techniques in haircutting,

hair styling and hair coloring.” See, e.g., https://avedainstitutessouth.edu/programs/cosmetology/

         17. Students were also told that they would receive all the preparation they need to take the

state board exam and would receive an ipad as part of the program.

         18. For the education at the Aveda Institute in Washington D.C., students pay

approximately $26,000 in tuition. Plaintiff Sakyi paid this amount, including approximately

$5,000 out of pocket and $21,000 in student loans.

         19. Students spent many days not training, but as line employees, performing

simple, repetitive tasks for Aveda clients without supervision – such as straightforward nail or hair

jobs.

         20. For work performed on paying customers in the Aveda Institute salon, Aveda students

sometimes receive tips from customers. The students did not, and do not, receive an hourly wage.




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       21. Although considered by Defendants for purposes of labor laws as “trainees,” the

students are actually employees who are economically integrated into Defendants’ profitable hair

salons, and controlled by Defendants’ common policies and practices. The students are required

to follow detailed requirements imposed on them by Defendants, and are subject to grading,

discipline and even termination from the program based on Defendants’ discretion and/or students’

failure to adhere to these requirements (such as rules regarding their contact with customers, the

hours they maintain in the salon, and the accurateness of their services).

       22. The work performed in the salon by Plaintiff and other Aveda students primarily

benefitted Defendants, rather than the students. The work was not training by licensed educators

in which students learned “the latest styles and techniques,” but rather, repetitive and run-of-the

mill haircuts and nail work for hundreds of hours. For this work, customers paid Aveda, but the

students did not receive any money, including an hourly wage, from Defendants. This work was

controlled and required by Defendants and pursued necessarily and primarily for the benefit of

Defendants and their business.

       23. Plaintiff acknowledges that a qualification for licensure in cosmetology in Washington

D.C. is training of a certain amount of hours in various aspects of cosmetology work. However,

the amount of work that Defendants required her and other students to perform in certain areas far

exceeded the requirements of licensure, demonstrating that it was primarily not for her benefit, but

for Defendants. For example, regulations require 50 hours related to manicure and pedicure for

licensure, but Defendants required Plaintiff to perform approximately 180 hours of nail work,

during the period from July to September 2016.

       24. After Plaintiff and other students finished their work for a customer, Defendants also




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required Plaintiff and other students to show customers the Aveda-branded products that they used

on the customers and try to sell the products to customers. Defendants also required Plaintiff and

other students to occasionally fill-in on the retail sales floor, performing general sales and other

duties for Defendants unrelated to their degree.

       25. Staff at the Aveda Institute required Plaintiff and other students to pay out-of-pocket

for iPads, which were rarely incorporated in to their study, when students had been told that the

cost    of     the     iPad     would      be      included    in     tuition.         See,       e.g.,

https://avedainstitutessouth.edu/locations/washington-d-c/ (“So whether you’re looking for a

cosmetology school in Washington DC, or want the luxury for less service you’ve come to expect

from an AVEDA school, look no further than the AVEDA Institute Washington DC, where every

cosmetology program enrollee now receives an iPad.”) (last visited June 27, 2017).

       26. Students, including Plaintiff, were required to spend so much time in the salon that they

did not receive the coursework necessary to be properly prepared for the state board exam. Only

when students complained did Defendants – after graduation – agree to provide additional

coursework. The delay, however, meant that students had to spend additional resources coming

to the Institute for weeks after the program was supposed to end and also delay the start of their

cosmetology careers.

       27. Had Defendants disclosed to Plaintiff and other students the true nature of the Aveda

Institute’s cosmetology program, including but not limited to the amount of time they would spend

on repetitive, comparatively unskilled nail and hair work, the students would have chosen another

cosmetology program.

                                 WASHINGTON D.C. CLASS

       28. Plaintiff brings this class action pursuant to Rule 23 of the Federal Rules of Civil




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Procedure Rule 23 and D.C. Code § 32-1308 on behalf of herself and all cosmetology students

who have enrolled at the Aveda Institute in Washington D.C.

       29. Defendants uniformly misrepresented and/or omitted material facts about the true

nature of the cosmetology program to Plaintiff and other class members, including that students

would perform hundreds of hours of unpaid labor involving, among other things, simple haircuts

and nail jobs for which there was no supervision by licensed educators.

       30. Defendants uniformly failed to pay Plaintiff and other class members a minimum

wage and failed to pay all wages earned in a timely manner.

       31. The members of the class are so numerous that joinder of all class members is

impracticable.

       32. The critical questions of law and fact common to the Plaintiff Class that will materially

advance the litigation are whether Defendants misrepresented and/or omitted material facts about

the cosmetology program to Plaintiffs and the class and whether applicable law required

Defendants to pay wages to Plaintiffs and the class for work that they performed at the Aveda

salon. Other questions of law and fact common to the Class that exist as to all members of the

class and predominate over any questions affecting only individual members of the Class include

the following:

       a. Whether class members have been required to follow uniform procedures and policies

           regarding their work for Defendants;

       b. Whether the work performed by class members is within Defendants’ usual course of

           business, and whether such work is fully integrated into Defendants’ business;

       c. Whether the work performed by class members primarily benefited them or

           Defendants;




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       d. Whether class members would have attended the Aveda Institute, or whether they

           would have paid a lower amount, had they known of the true nature of the program

           including the amount and nature of the work they would perform.

       33. Plaintiff’s claims are typical of the claims of the Class Members, as all such claims

arise out of Defendants’ conduct in developing, marketing, advertising, and selling the

cosmetology program as well as in requiring students to work without receiving wages.

       34. Plaintiff will fairly and adequately protect the interests of the members of the Class and

has no interests antagonistic to those of the Class. Plaintiff has retained counsel experienced in

the prosecution of complex class actions, including but not limited to consumer class actions

involving, among other things, consumer protection and wage theft.

       35. This class action is appropriate for certification because questions of law and fact

common to the members of the Class predominate over questions affecting only individual

members, and a class action is superior to other available methods for the fair and efficient

adjudication of this controversy, since individual joinder of all members of the Class impracticable.

Should individual class members be required to bring separate actions, this Court would be

confronted with a multiplicity of lawsuits burdening the court system while also creating the risk

of inconsistent rulings and contradictory judgments. In contrast to proceeding on a case-by-case

basis, in which inconsistent results will magnify the delay and expense to all parties and the court

system, this class action presents far fewer management difficulties while providing unitary

adjudication, economies of scale and comprehensive supervision by a single court.

           UNLAWFUL AND DECEPTIVE TRADE PRACTICE – DC Code § 28-3905
                                              Count I
        (Brought Individually, on Behalf of the Class and on Behalf of the General Public of
                                 the District of Columbia)

       36. Each of the preceding paragraphs is incorporated by reference herein.



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       37. Plaintiff Sakyi on behalf of herself as an individual, on behalf of all others

similarly situated and on behalf of the general public files this action pursuant to D.C. Code § 28-

3905(k).

       38. Defendants’ Aveda Institute program paid for by Plaintiff and class members

contradicted representations made about the program, including that Plaintiffs and class members

would spend their time working in the Aveda salon being trained under the direct supervision of

skilled professionals, constituting an unlawful and deceptive trade practice pursuant to DC Code

§ 28-3904 in that Defendant:

               a. Represented that goods or services have characteristics, uses, and benefits that

they do not have;

               b. Represented that its services are of a particular standard, quality and

style when, in fact, they are of another;

               c. Misrepresented as to a material fact that has a tendency to mislead;

               d. Failed to state a material fact that tended to mislead;

               e. Used innuendo or ambiguity as to a material fact, which has a tendency to

mislead;

               f. Advertised services without the intent to sell them as advertised or offered;

               g. Made unconscionable terms or provisions of a sale as demonstrated by, among

                    other factors, the gross disparity between the price of the services and the valuve

                    of the services measured by the price at which similar services are readily

                    obtainable in transactions by like buyers;

               h. Otherwise misleads.

       39. As a result of these material misrepresentations, Plaintiff and Class Members suffered




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financial loss in that they would not have paid for the Aveda Institute or would have paid a much

lower amount in tuition.

       40. The material misrepresentations affect the general public’s ability to comparison

shop for cosmetology programs by materially misleading about the contents and quality of the

Aveda Institute.

       41. Upon information and belief, Defendant intentionally made these misrepresentations

knowing that they had the tendency to mislead consumers, such as Ms. Sakyi.

       42. The manner in which the program is run, requiring hundreds of hours of unpaid labor

by students that primarily benefits Defendants, is in direct contradiction to the representations

made that the Aveda Institute provides unrivalled, hands-on training under the direct supervision

of licensed professionals.

       43. For her losses, Ms. Sakyi seeks actual damages, statutory damages, punitive damages,

injunctive relief, and reasonable attorney’s fees for herself and all others similarly situated.

          FAILURE TO PAY MINIMUM WAGE IN VIOLATION OF THE DCMWRA
                                        Count II
                     (Brought Individually and on Behalf of the Class)

       44. Plaintiff and Class Members performed unpaid work controlled and required by

Defendants and pursued necessarily and primarily for the benefit of Defendants and their business.

       45. Defendant’s willful conduct in failing to pay its employees the D.C. minimum wage

violates the DCMWRA.

             FAILURE TO PAY ALL WAGES EARNED IN A TIMELY MANNER IN
                          VIOLATION OF THE DCWPCL
                                         Count III
                      (Brought Individually and on Behalf of the Class)

       46. Defendant’s willful conduct in failing to pay its employees in a timely manner for all

wages that they earned violates the DCWPCL.



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                                         PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Princess Sakyi, on behalf of herself, all others similarly situated

and the general public of the District of Columbia, pray for a judgment against Defendants as

follows:

       A.       Finding that this action satisfies the prerequisites for maintenance as a class action

set forth in Fed. R. Civ. Pr. 23(a), (b)(2), and/or (b)(3) as substantively modified by D.C. Code §

32-1308;

       B.       Designating Plaintiff as representative of the Class and her counsel as Class

counsel;

       C.       Entering judgment in favor of Plaintiff, the Class and the general public of the

District of Columbia and against Defendants for all compensatory, individual and class damages;

       D.       Awarding compensatory damages such as all wages owed as well as the difference

between the amounts that Plaintiff and the Class paid for the program and the amounts that they

would have paid had they known the true nature of the program, as will be proven;

       E.       Granting Plaintiff, the Class and the general public of the District of Columbia

treble damages or statutory damages, whichever is greater for their CPPA claim;

       F.       Awarding liquidated damages for the wage claims of Plaintiff and the Class;

       G.       Granting Plaintiff and the Class the costs of prosecuting this action, including

attorneys’ fees, experts’ fees and costs together with interest;




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       H.      Granting an injunction against Defendants that they pay students for work

performed in the Aveda salon and change their marketing practices to accurately reflect the nature

of work performed in the cosmetology program; and

       H.      Granting such further relief as the Court deems just.

                                     DEMAND FOR JURY TRIAL

               Plaintiff hereby demand a trial by jury on all issues so triable.



Dated: October 24, 2017                       Respectfully submitted,

                                              /s/ Jason S. Rathod
                                              Jason S. Rathod, Esq. (D.C. Bar No. 100082)
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 24, 2017, the foregoing was filed electronically with the

Court.


                                               /s/ Jason S. Rathod
                                               Jason S. Rathod, Esq.




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